       Case 8:19-cv-00098-JLS-DFM Document 36 Filed 06/11/19 Page 1 of 1 Page ID #:170



                                                      UNITED STATES DISTRICT COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA

Mariano Benitez                                                         CASE NUMBER
                                                                                           8:19-cv-00098-JLS (DFMX)
                                                       PLAINTIFF(S),
                                           v.
Powerline Funding, LLC
                                                                                           NOTICE OF CLERICAL ERROR
                                                     DEFENDANT(S),

TO:       U. S. District Judge(s)
          U. S. Magistrate Judge(s)
          Counsel of Record

You are hereby notified that due to a clerical error G documents associated with the filing of the new action       G the following
                 ✔ docket entry have/has been corrected as indicated below.
scanned document G
Title of Scanned Document: Minute (In Chamber) Order to Show Cause ("OSC") Regarding Joint Status Report
Filed Date: 6/10/2019                                               Document Number:          35

G      Incorrect case number                                                          was assigned to this   G   action   G   document.
G      Case number has been corrected. The correct case number is
G      Incorrect judge’s initials were indicated on this G action  G document. The correct judge’s initials are
G      Incorrect magistrate judge’s initials were indicated on this G action G document. The correct magistrate judge’s initials
       are                                       .
G      Case has been reassigned from G Judge G Magistrate Judge                                                                             to

       G       Judge   G   Magistrate Judge                                . The initials of the new judge(s) are

G      Case was assigned to       G    Western G Southern G Eastern division. Pursuant to General Order G 349, G 98-3 G 02-06,

       the case has been reassigned to the G Western        G   Southern G Eastern division. The former case number
       has been reassigned to new case number
G      Subsequent documents must be filed at the G Western        G    Southern   G   Eastern division. Failure to file at the proper location
        will result in your documents being returned to you.
G      Case title is corrected from                                                   to
G      Document has been re-numbered as document number
G      Incorrect G Filed Date G Date of Document G ENTERED Date G DATE ENTERED ON CM/ICMS was stamped on
        document. The correct date is
G      Document is missing page number(s):
G      To ensure proper routing of documents, all documents filed with the court must reflect the following case number and judge’s
        initials:
✔
G      Other: The above-stated document was docketed to this case in error. The document will be re-docketed to the correct Case
                number 2:19-CV-00098 JLS (KSx).


                                                                           CLERK, U.S. DISTRICT COURT

Date     June 11, 2019                                                     By:         /s/ J. Lam (Jenny_Lam@cacd.uscourts.gov)
                                                                                      Deputy Clerk
cc: Intake Supervisor / Deputy In Charge



G-11 (06/05)                                             NOTICE OF CLERICAL ERROR
